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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF COLORADO

 In re:
                                                  Case No.: 09-13729 MER
 Anthony A. Romero II
 Maria E. Romero

                                                  Chapter 13


     Debtor(s).

          VERIFIED MOTION FOR POST CONFIRMATION MODIFICATION


    COMES NOW, the Debtors, by and through undersigned counsel, hereby moves this Court
for an Order allowing a post-confirmation modification of their plan, and as grounds therefore
allege and state as follows:

    1. This case was filed March 10, 2009 and the Amended Plan which was ultimately
       confirmed was dated May 26, 2009. At the filing Debtors source both the Debtor-
       Husband and Debtor-Wife were employed. At the time of filing, the Debtor-Husband
       had a gross income of $3,696.71/month and the Debtor-Wife had a gross income of
       $4,761.81.

    2. On or about June 30, 2010, the Debtor-Husband was laid-off from his job and the
       debtor’s income was greatly reduced.

    3. Debtor-Husband has been seeking employment since losing his job, however, he has only
       been able to obtain part-time employment. He is currently making $13/hr. and his
       employer can only guarantee him 12 hours of work per week. Thus, the debtor-
       husband’s current income has been reduced to approximately $676/month lowering his
       income by $3,020.71.

    4. Due to the lower disposable income, Debtors have filed a Modified Chapter 13 plan,
       which provides for a decrease of plan payments from $650/month to $150/month for the
       remainder of the plan. The Modified plan shows payments totaling $10,811 through
       October 2010 which will make the debtor current on plan payments. Should the debtor-
       husband receive employment during the life of the plan, the debtor agrees to modify the
       plan to include her disposable income.


WHEREFORE, Debtors pray for an Order allowing the modification of their Chapter 13 plan
dated May 26, 2009, an Order confirming the Chapter 13 Plan dated November 30, 2010, and
for such further relief as is just and proper.
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DATED, this 1st day of December, 2010.

                                           Respectfully submitted,
                                           Cohen & Cohen, P.C.




                                           _________________________
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